             IN THE COURT OF APPEALS OF NORTH CAROLINA

                                 2022-NCCOA-160

                                  No. COA21-351

                                Filed 15 March 2022

Carteret County, No. 18 CVS 864

In re the HERMAN EARL GODWIN REVOCABLE TRUST created under Agreement
dated August 9, 2017

THERESA ANN GODWIN, Plaintiff,

            v.

CECIL S. HARVELL, in his capacity as Executor of the Estate of Herman E. Godwin,
in his capacity as Trustee of the Herman E. Godwin Revocable Trust created under
Agreement dated August 9, 2017, in his capacity as Trustee of the trust f/b/o Aiden
Gaffney created under ARTICLE IV of the Herman E. Godwin Revocable Trust
Agreement dated August 9, 2017, in his capacity as Trustee of the trust f/b/o Zhoe
Gaffney created under Article IV of the Herman E. Godwin Revocable Trust
Agreement dated August 9, 2017; APRIL M. JONES; PAULA K. WOODY;
HEATHER GAYLOR; and ZHOE GAFFNEY, Defendants


In the Matter of the Estate of HERMAN EARL GODWIN, Deceased.


      Appeal by plaintiff from orders entered 14 December 2020 by Judge Paul

Quinn, 11 January 2021 by Judge Joshua W. Willey, and 29 January 2021 by Judge

Paul Quinn in Carteret County Superior Court. Heard in the Court of Appeals 23

February 2022.


      Womble Bond Dickinson (US) LLP, by Jesse A. Schaefer and Elizabeth K. Arias,
      for plaintiff-appellant, Theresa Ann Godwin.

      Harvell and Collins, P.A., by Wesley A. Collins and Samuel K. Morris-Bloom
      and Harris, Creech, Ward &amp; Blackerby, P.A., by C. David Creech, for defendant-
      appellee Cecil S. Harvell in his capacity as Executor of the Estate of Herman E.
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           Godwin, in his capacity as Trustee of the Herman E. Godwin Revocable Trust
           created under Agreement dated August 9, 2017, in his capacity as Trustee of the
           trust f/b/o Aiden Gaffney created under ARTICLE IV of the Herman E.
           Godwin Revocable Trust Agreement dated August 9, 2017, in his capacity as
           Trustee of the trust f/b/o Zhoe Gaffney created under Article IV of the Herman
           E. Godwin Revocable Trust Agreement dated August 9, 2017.


           TYSON, Judge.


¶1         Theresa Ann Godwin (“Plaintiff”) appeals from orders entered granting

     summary judgment, a directed verdict, and finding Plaintiff’s claims lacked

     substantial merit to Cecil S. Harvell (“Harvell”), in his capacity as Executor of the

     Herman E. Godwin, in his capacity as Trustee of the Herman E. Godwin Revocable

     Trust, in his capacity as Trustee of the trust for the benefit of Aiden Gaffney created

     under Article IV of the Herman E. Godwin Revocable Trust Agreement, and in his

     capacity as Trustee of the trust for the benefit of Zhoe Gaffney created under Article

     IV of the Herman E. Godwin Revocable Trust Agreement; April M. Jones; Paula K.

     Woody; Heather Gaylor; and, Zhoe Gaffney (collectively “Defendants”). We reverse

     and remand.

                                      I.      Background

¶2         Herman E. Godwin (“Settlor”) and wife, Ellen Godwin (“Ellen”) owned 76 acres

     of real property containing 22 rental units in and around Newport. Ellen managed

     the couple’s finances, including collecting rent from tenants and writing checks for
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     the household expenses and for the rental properties. Settlor and Ellen are parents

     of two daughters: Plaintiff and Barbara Bittner. Bittner has a daughter, Heather

     Gaylor (“Gaylor”). Gaylor has two children: Zhoe Gaffney and Aiden Gaffney.

¶3          In November 2009, Settlor and Ellen retained Harvell to complete their estate

     plans. Settlor and Ellen each signed a revocable trust agreement, an irrevocable trust

     agreement, and deeds transferring their real property to the irrevocable and

     revocable trusts. Settlor executed a will to govern the distribution of his other

     property.

¶4          Settlor and Ellen appointed Plaintiff and Bittner as co-executors and co-

     trustees upon their deaths.     Settlor funded the trusts with real property.      The

     documents directed the assets to pass to the surviving spouse of the couple, and if no

     spouse survived, then in equal shares between Plaintiff and Bittner, or their living

     issue per stirpes.

¶5          In 2014, Settlor underwent coronary artery bypass surgery and was

     hospitalized for five days. Plaintiff stayed with Settlor during his hospitalization and

     arranged for in-home care following his discharge from the hospital. Settlor and Ellen

     were dissatisfied with the caregivers sent from the home health company and the

     family began looking for replacements.

¶6          Paula Woody (“Paula”) was a tenant of Settlor and Ellen. Paula, who was

     employed as a hairdresser, volunteered to become a caregiver for Settlor and Ellen,
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       and was hired in late September 2014. Shortly afterwards, Paula’s son, Justin Woody

       (“Justin”), Paula’s niece, Danah Hartley (“Hartley”), and Paula’s daughter, April

       Jones (“Jones”), were also hired as caregivers.

¶7           Soon after Settlor had returned home from the hospital, Ellen became ill and

       passed away on 18 October 2014. Following Ellen’s death, Plaintiff became Settlor’s

       attorney-in-fact (“AIF”) under his 2009 estate plan. Paula, Jones, Justin, and Hartley

       also began collecting the rent from other tenants and managing Settlor’s rental

       properties.

¶8           In December 2014, Settlor requested Plaintiff to collect timesheets from the

       caretakers, review them for errors, and submit claims for reimbursement from John

       Hancock Life Insurance Company, U.S.A., Settlor’s long-term care insurance carrier.

¶9           Plaintiff visited Settlor in July 2015 and noticed the caretakers were only

       working approximately four to six hours a day. Plaintiff further noticed when she

       posed a question, Settlor looked to a caretaker for assistance in responding to her

       question. On 5 September 2015, Plaintiff told Paula that she and the other caretakers

       could not submit claims for hours that they had not worked, by texting to her: “I will

       not submit falsified claims” to John Hancock.

¶ 10         Plaintiff reported the caretakers immediately stopped being friendly with her.

       Plaintiff further recounted Settlor believed she was “fishing around” with the

       insurance policy so John Hancock would deny the claim. Settlor came to believe
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       Plaintiff wanted to place him into a nursing home and take control of his assets.

       Plaintiff told Settlor she and her sister, Bittner, did not want to place Settlor into a

       nursing home, but “no matter how many times [Plaintiff and Bittner] said it wasn’t

       true, [they] kept being accused of it.”

¶ 11         Plaintiff, as Settlor’s AIF, feared the caretakers were taking financial

       advantage of Settlor. Plaintiff reviewed Settlor’s credit report and bank account

       statements.    Plaintiff discovered: (1) checks were not being signed in Settlor’s

       handwriting; (2) checks were written out of numerical sequence; (3) checks were being

       written to individuals with whom Settlor did not do business; (4) checks were written

       for items that did not fit within Settlor’s spending habits; (5) a cash withdrawal of

       $20,000 was made from his account; and, (6) a new credit card account in Settlor’s

       name had been opened with a different signature from his.

¶ 12         Plaintiff was concerned about transactions involving “Sarah Burns” where on

       13 August 2015 a check for $500 was written for a funeral donation and then Settlor

       received a car financing payment from “Sarah Burns” in November 2015. Plaintiff

       hired Durward Matheny, a forensic document examiner, to examine the credit card

       application and Settlor’s checks. Matheny concluded neither were signed by Settlor,

       but the signatures were attempts to simulate his handwriting.

¶ 13         Bittner filed an Adult Protective Services report with the Carteret County

       Department of Social Services on 19 October 2015.          Bittner stated Settlor was
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       “alienated” and “brainwashed” into fear that his daughters “only want to put him in

       a nursing home and take all of his money.” Bittner’s claim was not accepted for

       evaluation.

¶ 14         Two days later, on 21 October 2015, Plaintiff contacted the Carteret County

       Sheriff’s Department reporting the inconsistencies in Settlor’s bank accounts and

       alleging two caregivers had been overpaid. Deputy David Perry was assigned to

       investigate the claims.

¶ 15         During Deputy Perry’s interview with Settlor, he had reported Plaintiff was

       “mad at him because he threatened to remove her from his will after she failed to

       accurately manage his finances and because she is angry that he only gave $7,500 to

       [Plaintiff’s] daughter instead of the $15,000 he had promised to give her years ago

       when she was old enough.”

¶ 16         Settlor said “he [was] perfectly capable to direct his own affairs and regrets

       having given [Plaintiff] power of attorney claiming at the time he did not understand

       what []he was doing when he signed the power of attorney partly because his wife

       had died recently and because he trusted his daughter.” Deputy Perry reported

       Settlor stated, “[N]o one forged his signature on any checks[.]” Settlor further told

       Deputy Perry he had an appointment with his attorney, Harvell, to remove Plaintiff

       as his AIF and to change his will. Deputy Perry noted Settlor “was very articulate

       and direct in his answers.”
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¶ 17          Settlor decided to revise his estate plan and held a meeting with Harvell on 22

       October 2015. Settlor told Harvell his daughters, Plaintiff and Bittner, were “plotting

       and planning” to put him on “a path toward” living in a nursing home. Harvell

       reported Settlor had told him that he always signed all of his checks. Harvell advised

       Settlor to replace Plaintiff with a different family member. Settlor instructed Harvell

       to remove all his real property out from the trusts. Harvell sent a letter to Plaintiff

       and Bittner informing them of Settlor’s intention to take all his real property out of

       the trusts and enclosed quit claim deeds for them to sign conveying the property back

       to Settlor. Settlor decided to replace Plaintiff as his AIF.

¶ 18          Shortly thereafter his caregiver, Paula, called Settlor’s nephew, Bill Godwin

       (“Godwin”), who lives in Florida. Paula asked him to serve as Settlor’s AIF. Godwin

       was concerned because he had never met Paula, did not know why a caretaker was

       calling, and both of Settlor’s daughters lived closer to Settlor than him. Godwin called

       Settlor directly and determined he “didn’t sound right.” Godwin noticed Settlor’s tone

       of voice was different and he was not able to converse normally. Godwin called

       Plaintiff.

¶ 19          Plaintiff, Bittner, and Roy Ivey (“Ivey”), Bittner’s husband, went to Settlor’s

       bank to obtain copies of his credit card statements on 23 October 2015. While at the

       bank, Plaintiff, Bittner, and Ivey accessed Settlor’s safety deposit box and removed

       $10,000 in cash. Bank employees notified Settlor that Plaintiff was attempting to
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       access his account statements.

¶ 20         Settlor came to the bank branch and Plaintiff told him she was there to access

       his bank records but did not tell him $10,000 had been removed from the safety

       deposit box. Settlor gave the bank permission to release the statements to Plaintiff

       and Bittner. Plaintiff and Bittner sought to turn over the alleged forged checks to

       the Carteret County Sheriff’s Department, but were informed the investigation had

       been closed.

¶ 21         Also on 23 October 2015, Plaintiff, Bittner, Settlor, and Harvell met in

       Harvell’s office. Harvell told Plaintiff and Bittner that Settlor “sign[ed] his name

       different ways.” Plaintiff and Bittner refused to quit claim their interest in the real

       property being held in the irrevocable trust. Harvell informed Plaintiff her AIF

       powers would be revoked. Settlor later named attorney M. Douglas Goines (“Goines”)

       as his AIF.

¶ 22         Plaintiff and Bittner hired Wyles Johnson (“Johnson”), an attorney, to explore

       terminating the employment of Settlor’s caregivers. Johnson informed Plaintiff and

       Bittner the only way to remove the caregivers was for Settlor to be declared

       incompetent. Plaintiff and Bittner declined to pursue such an action.

¶ 23         Johnson contacted Goines, Settlor’s AIF and relayed Plaintiff’s and Bittner’s

       concerns regarding the caregivers and Settlor’s financial competency. Goines then

       met with Settlor and Harvell. Harvell told Goines there was a “long family history of
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       tension between the daughters, especially [Plaintiff], and [Settlor] . . . he lets

       [Plaintiff] take advantage of him . . . [and] he greatly resents the efforts of [Plaintiff]

       to try and take over his life.”

¶ 24          Goines concluded it was “completely clear to [him] that [Settlor] is competent

       and quite capable of managing his affairs . . . [and] that he very much wants to

       manage his own affairs and is not going to voluntarily surrender that privilege to

       anyone.”

¶ 25          Settlor’s bank reported to the Carteret County Sheriff’s Department that

       Settlor was being financially exploited on 10 November 2015. Settlor: (1) had come

       into the bank branch with Paula’s daughter, Jones; (2) had transferred $2,000 to

       Jones’ deceased grandmother; and, (3) “appeared to be confused about the

       transaction.”

¶ 26          Following a second investigation request by Bittner, Deputy Perry conducted

       a second personal interview with Settlor. Deputy Perry noted Settlor “appears to be

       in full control of his mental facilities and fully understands his actions and those of

       his employees . . . [and] does not appear to be in any distress mentally or physically[.]”

¶ 27          Settlor told Deputy Perry the money had to be withdrawn from his account

       because an account Jones and her grandmother shared had purportedly been seized

       by the state for outstanding debts.          Settlor admitted being confused by the

       transaction, did not know Jones’ grandmother, but had authorized it anyway because
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       Jones had assured him “everything is on the up and up.”

¶ 28         Settlor stated, “No one signs any checks for me” and “All financial

       transactions” are authorized by me. Deputy Perry concluded he did not “believe

       [Settlor] is being taken advantage of by his caretakers or anyone else.” Deputy Perry

       again closed the investigation. None of Settlor’s family members were informed of

       the bank’s allegations at the time, nor of the Carteret County Sheriff’s Department’s

       subsequent investigation.

¶ 29         On 2 December 2015, Plaintiff, Bittner, Ivey, and Godwin, traveled to Settlor’s

       home to tell Settlor about the irregularities concerning the checks.      The family

       members noticed family photographs were removed and missing from the home,

       Settlor’s checkbook was not present in the drawer where it was usually kept, and files

       containing Settlor’s important documents were missing. When the topic of checks

       was brought up, Settlor became uncharacteristically angry, refused to look at the

       cancelled checks, and went into his room.

¶ 30         Godwin left to confront Paula at her residence. Paula called law enforcement

       and Godwin returned to Settlor’s residence. Settlor attempted to get into his vehicle,

       but Godwin would not allow him to drive away because he felt Settlor was not able to

       drive by himself at night.

¶ 31         At this time, Paula, Jones, and Justin along with law enforcement officers

       arrived at Settlor’s house. An argument broke out between Plaintiff, Godwin, Paula,
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       and Jones. After Settlor’s family left, Paula told Settlor “You have to get a restraining

       order against [Plaintiff and Bittner] because I’m not going to put up with their s—t,

       [and] I don’t have to.”

¶ 32         Settlor, through counsel, obtained an ex parte domestic violence protective

       order (“DVPO”) on 14 December 2015 against Plaintiff. After being served with the

       14 December DVPO, Plaintiff contacted Johnson, who referred her to attorney Joel

       Hancock (“Hancock”). Plaintiff is employed by the United States Department of the

       Treasury and holds a top-secret level security clearance. Plaintiff was concerned she

       could lose her security clearance due the allegations of domestic violence in the DVPO

       complaint. Plaintiff hired Hancock who contacted Wesley Collins, Harvell’s law

       partner. Settlor voluntarily dismissed the 14 December DVPO.

¶ 33         After the 14 December DVPO was filed, several tenants of Settlor’s properties

       called Plaintiff and Bittner asserting Paula had “some kind of hold” on Settlor and

       Settlor was “agree[ing] with everything” she said. Plaintiff did not bring these third-

       party allegations to Settlor for fear of a second DVPO.

¶ 34         The following day on 15 December 2015, Settlor visited a neurologist. Settlor

       sought a “letter of mental competency to give to his attorney.” Settlor complained of

       “memory problems.” The neurology clinic noted Settlor did not know the day of the

       week and his attention and concentration were impaired.           The neurology clinic

       ordered imaging and clinical tests.      The neurologist concluded all tests showed
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       cognitive impairment and declined to determine or confirm Settlor’s legal

       competency, because it required “a higher level of neurocognitive, behavioral, and

       comprehension than we can presently perform in this office. Based on these tests

       alone, we are not in a position to give an opinion regarding competency.”

¶ 35         On 17 November 2015, Harvell drafted a document naming Paula’s daughter,

       Jones, as Settlor’s healthcare agent. In January 2016, Settlor decided to again revise

       his estate plan. Settlor replaced Plaintiff and Bittner as executor and named Harvell

       as executor. Settlor’s new will also included specific bequests of $7,000 each to Paula,

       Jones, and Zhoe. The residuary of Settlor’s estate was to be divided between Plaintiff

       and Bittner per stirpes if both survived Settlor.         If Bittner predeceased Settlor,

       Plaintiff would inherit the entire residuary estate.

¶ 36         Plaintiff and Settlor communicated sporadically by phone with no face-to-face

       visits from January 2016 until Marth 2017. In March 2017, Settlor again revised his

       estate plan. Settlor retained Harvell to draft the will and trusts and named Harvell

       as his executor. The will included $7,000 bequests each to Paula and Jones. The will

       poured the estate residuary into a new revocable testamentary trust.                 The

       beneficiaries of the revocable testamentary trust were granddaughter Gaffney, and

       her children Zhoe and Aiden. No provisions in the will were made for Plaintiff or her

       children. Settlor’s earlier irrevocable and revocable trusts holding the real property

       remained unchanged.
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¶ 37         In April 2017, Plaintiff received a call from a nurse concerning Settlor’s annual

       medical examination. The report concluded Settlor’s mental health was deteriorating

       and he was relying more upon his caretakers. On 26 July 2017, Bittner died. Around

       the time of Bittner’s funeral, Ivey showed Settlor a letter from Plaintiff, which

       contained the medical evaluation and a note suggesting the daughters to re-evaluate

       their position to not seek to have Settlor declared incompetent to fire the caretakers.

¶ 38         Settlor became “fed up” with Plaintiff and contacted Harvell to remove Plaintiff

       from his estate plan and pass his estate to Bittner’s lineal heirs. In the 9 August

       2017 estate plan, Settlor revoked the prior revocable trust, the testamentary trust

       created by the pour over will, and conveyed his real property back to himself. Settlor

       deeded the real property into a new trust which distributed the real property to

       Gaffney, Zhoe, and Aiden.

¶ 39         Settlor executed a new will with the same distribution provisions from the

       March 2017 will. Harvell testified he had no concerns about Settlor’s mental capacity

       or him being subject to undue influence nor did anyone else in his office who had

       witnessed the execution of the documents.

¶ 40         On 22 August 2017, Plaintiff came to Settlor’s home in Newport. Settlor had

       paid for and travelled to Florida with his caregivers and their families. Plaintiff

       stopped by Settlor’s house and noticed the television was on, but no one was home.

       Plaintiff called Paula, who told her about Settlor and her family’s trip to Florida.
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       Settlor called Harvell and asked him to call Plaintiff to “ask her to leave and come to

       the house when [he is] there.”

¶ 41         Settlor also asked Harvell to call law enforcement to “make sure everything is

       ok.” Harvell called Plaintiff and relayed this message and called law enforcement to

       check on the property. Harvell also sent Plaintiff a letter memorializing Settlor’s

       wishes from the telephone conversations.

¶ 42         On 6 September 2017 law enforcement officers were called to Settlor’s home by

       Justin for reports of a trespass by Debbie Turnage (“Turnage”), a friend of Plaintiff.

       Turnage asserted she was invited into Settlor’s home and Settlor never asked her to

       leave. She was neither cited nor arrested. Later that day, Wesley Collins, Harvell’s

       law partner, met with the caretakers to discuss the preparation of another DVPO

       complaint against Plaintiff.

¶ 43         On 8 September 2017 Settlor through counsel filed another DVPO.                A

       protective order was entered against Plaintiff. The parties attended a hearing on 14

       September 2017. The parties entered a contact agreement, through counsel, which

       established Plaintiff could maintain contact with Settlor, but she would not have any

       involvement in his financial affairs. The 8 September 2017 DVPO was voluntarily

       dismissed.

¶ 44         In November 2017 Settlor could not recognize any family members at a family

       reunion. Settlor was diagnosed with terminal cancer in January 2018. Plaintiff
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       moved into Settlor’s residence for his final weeks. On 27 February 2018, Settlor died.

¶ 45         In August 2018, Plaintiff filed a caveat and trust contest. Plaintiff’s complaint

       alleged the testamentary instruments and deeds executed by Settlor in the two years

       prior to his death were invalid due to incapacity and undue influence.

¶ 46         The trial court heard arguments on Defendants’ motion for summary judgment

       on 28 October 2020.     The trial court granted Defendants’ motion for summary

       judgment on the issue of Settlor’s capacity by correspondence to the parties on 8

       November 2020. The trial court drafted an order granting Defendants’ motion for

       summary judgment dated 12 November 2020 and it was filed on 11 January 2021.

¶ 47         At the close of Plaintiff’s case-in-chief, the trial court granted Defendants’

       motion for a directed verdict on undue influence on 14 December 2020. Plaintiff

       appealed both the order granting summary judgment and the order granting a

       directed verdict on 12 January 2021.

¶ 48         Defendants moved for attorney’s fees pursuant to N.C. Gen. Stat. §§ 6-21(2)

       and 6-21.5 (2021) on 14 January 2021. Following a hearing, the trial court entered

       an order on 29 January 2021 finding Plaintiff’s claims lacked substantial merit and

       preserved the issue of attorney’s fees for a hearing after the appeal has been ruled

       upon. Plaintiff also appealed this order.

                                      II.      Jurisdiction

¶ 49         Jurisdiction lies in this Court pursuant to N.C. Gen. Stat. § 7A-27(b)(1) (2021).
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                                           III.   Issues

¶ 50         Plaintiff argues the trial court erred by: (1) granting Defendants’ motion for

       summary judgment; (2) granting Defendants’ motion for a directed verdict; (3)

       excluding the testimony of Godwin; and, (4) concluding Plaintiff’s claims lacked

       substantial merit.

                                  IV.     Summary Judgment

¶ 51         The trial court granted Defendants’ motion for summary judgment on the issue

       of Settlor’s capacity to execute the will and trusts.

                                        A. Standard of Review

¶ 52         “A caveat is an in rem proceeding” that operates as “an attack upon the validity

       of the instrument purporting to be a will.” In re Will of Cox, 254 N.C. 90, 91, 118

       S.E.2d 17, 18 (1961) (citation omitted).

¶ 53         Summary judgment may be entered in a caveat proceeding where there are no

       genuine issues as to material facts. See In re Will of McCauley, 356 N.C. 91, 100-01,

       565 S.E.2d 88, 95 (2002). This Court reviews the trial court’s ultimate determination

       of the summary judgment motion de novo. In re Will of Jones, 362 N.C. 569, 573, 669

       S.E.2d 572, 576 (2008).

¶ 54         Summary judgment is only appropriate where “the pleadings, depositions,

       answers to interrogatories, and admissions on file, together with the affidavits, if any

       show that there is no genuine issue as to any material fact and that any party is
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       entitled to a judgment as a matter of law.” N.C. Gen. Stat. § 1A-1, Rule 56(c) (2021).

       Because of the factual nature of the issues presented during a caveat proceeding,

       “[s]ummary judgment should be entered cautiously.” Seagraves v. Seagraves, 206

       N.C. App. 333, 338, 698 S.E.2d 155, 161 (2010).

                                             B. Analysis

¶ 55         “[A] presumption exists that every individual has the requisite capacity to

       make a will, and those challenging the will bear the burden of proving, by the greater

       weight of the evidence, that such capacity was wanting.” In re Will of Sechrest, 140

       N.C. App. 464, 473, 537 S.E.2d 511, 517 (2000). Our Supreme Court has confirmed:

       “A testator has testamentary capacity if he comprehends the natural objects of his

       bounty; understands the kind, nature and extent of his property; knows the manner

       in which he desires his act to take effect; and realizes the effect his act will have upon

       his estate.” In re Will of Buck, 130 N.C. App. 408, 412, 503 S.E.2d 126, 130 (1998)

       (citation omitted), aff’d, 350 N.C. 621, 516 S.E.2d 858 (1999).

¶ 56         This Court has stated: “To establish lack of testamentary capacity, a caveator

       need only show that any one of the essential elements of testamentary capacity is

       lacking.” In re Estate of Phillips, 251 N.C. App. 99, 110, 795 S.E.2d 273, 282 (2016).

       A caveator cannot “establish lack of testamentary capacity where there [is] no specific

       evidence relating to testator’s understanding of his property, to whom he wished to

       give it, and the effect of his act in making a will at the time the will was made.” In
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       re Estate of Whitaker, 144 N.C. App. 295, 298, 547 S.E.2d 853, 856 (2001) (citation

       and internal quotation marks omitted) (emphasis original). It is not sufficient for a

       caveator to present “only general testimony concerning testator’s deteriorating

       physical health and mental confusion in the months preceding the execution of the

       will.” In re Will of Buck, 130 N.C. App. at 413, 503 S.E.2d at 130.

¶ 57         A testator is entitled to disinherit a child. See Ladd v. Estate of Kellenberger,

       314 N.C. 477, 483, 334 S.E.2d 751, 756 (1985) (“The law in North Carolina does not

       prohibit parents from disinheriting children. The right to give or take property is not

       a natural or inalienable right, but one of positive law, created and controlled by the

       legislature.”) (citing Pullen v. Commissioners of Wake County, 66 N.C. 361, 363-64
       (1872)).

¶ 58         Here, viewed in the light most favorable to Plaintiff, as the non-movant,

       Plaintiff’s affidavits, answers during depositions, and evidence presented during the

       summary judgment hearing tend to show Settlor was suffering from dementia at the

       time the will and trusts were executed. The affidavits and answers during deposition

       tend to indicate Settlor’s confusion and lack of knowledge regarding who was

       managing his finances, what real property he owned, and who were the beneficiaries

       of his will and trusts. Viewed in the light most favorable to, and with all reasonable

       inferences that could be drawn therefrom to Plaintiff, genuine issues of material fact

       exist concerning Settlor’s testamentary capacity. The trial court erred in granting
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       summary judgment. The 11 January 2021 summary judgment order is reversed.

                                    V.       Directed Verdict

¶ 59         Plaintiff argues the trial court erred in granting a directed verdict in favor of

       Defendants on the issue of undue influence.

                                     A. Standard of Review

¶ 60         “The standard of review of directed verdict is whether the evidence, taken in

       the light most favorable to the non-moving party, is sufficient as a matter of law to

       be submitted to the jury.” Davis v. Dennis Lilly Co., 330 N.C. 314, 322, 411 S.E.2d

       133, 138 (1991) (citation omitted).

¶ 61         Our Supreme Court has held:

                    In determining the sufficiency of the evidence to withstand
                    a motion for a directed verdict, all of the evidence which
                    supports the non-movant’s claim must be taken as true and
                    considered in the light most favorable to the non-movant,
                    giving the non-movant the benefit of every reasonable
                    inference which may legitimately be drawn therefrom and
                    resolving contradictions, conflicts, and inconsistencies in
                    the non-movant’s favor.

       Turner v. Duke University, 325 N.C. 152, 158, 381 S.E.2d 706, 710 (1989) (citation

       omitted). “If there is more than a scintilla of evidence supporting each element of the

       nonmoving party’s claim, the motion for directed verdict or JNOV should be denied.”

       Horner v. Byrnett, 132 N.C. App. 323, 325, 511 S.E.2d 342, 344 (1999) (citation

       omitted). “A scintilla of evidence is defined as very slight evidence.” Hayes v. Waltz,

       246 N.C. App. 438, 442-43, 784 S.E.2d 607, 613 (2016) (citation omitted).
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                                             B. Analysis

¶ 62         In the context of a will caveat, undue influence is “a fraudulent influence over

       the mind and will of another to the extent that the professed action is not freely done

       but is in truth the act of the one who procures the result.” In re Estate of Loftin, 285

       N.C. 717, 722, 208 S.E.2d 670, 674-75 (1974).

¶ 63         “There are four general elements of undue influence: (1) a person who is subject

       to influence; (2) an opportunity to exert influence; (3) a disposition to exert influence;

       and (4) a result indicating undue influence.” In re Sechrest, 140 N.C. App. at 469, 537

       S.E.2d at 515 (citation omitted).

¶ 64         Our Supreme Court noted a number of factors, in In re Andrews, which are

       relevant to the issue of undue influence:

                    1. Old age and physical and mental weakness.

                    2. That the person signing the paper is in the home of the
                       beneficiary and subject to his constant association and
                       supervision.

                    3. That others have little or no opportunity to see him.

                    4. That the will is different from and revokes a prior will.

                    5. That it is made in favor of one with whom there are no
                       ties of blood.

                    6. That it disinherits the natural objects of his bounty.

                    7. That the beneficiary has procured its execution.

       In re Andrews, 299 N.C. 52, 55, 261 S.E.2d 198, 200 (1980) (citation and quotation
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       marks omitted).

¶ 65         A caveator is “not required to demonstrate the existence of every factor to prove

       undue influence, because undue influence is generally proved by a number of facts,

       each one of which standing along may be of little weight, but taken collectively may

       satisfy a rational mind of its existence.” In re Estate of Phillips, 251 N.C. App. at 111,

       795 S.E.2d at 282 (citation and internal quotation marks omitted). This Court has

       further held: “Whether these or other factors exist and whether executor unduly

       influenced decedent in the execution of the Will are material questions of fact.” In re

       Will of Smith, 158 N.C. App. 722, 727, 582 S.E.2d 356, 360 (2003).

¶ 66         At oral argument, Defendants asserted the allegations that the caregivers, who

       received none of the real property at issue and received only bequests of $7,000 each,

       from an almost two-million-dollar estate, were the alleged undue influencers is

       unsupported by precedent. This assertion is contrary to our Supreme Court’s holding

       in In re Andrews, which cautions “It is impossible to set forth all the various

       combinations of facts and circumstances that are sufficient to make out a case of

       undue influence because the possibilities are as limitless as the imagination of the

       adroit and the cunning.” In re Andrews, 299 N.C. at 54, 261 S.E.2d at 200. In

       evaluating allegations of undue influence, our Supreme Court held “it is impossible

       for the law to lay down tests to determine its existence with mathematical certainty.”

       Id. at 54-55, 261 S.E.2d at 200.
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¶ 67         Viewed in the light most favorable to the nonmoving party, the evidence

       produced at trial demonstrates and emphasizes the caregivers overarching

       involvement in Settlor’s life. In November 2009, Settlor and Ellen appointed their

       daughters Plaintiff and Bittner as co-executors and co-trustees upon their deaths.

       Settlor funded these trusts with real property. The documents directed the assets to

       pass to the surviving spouse of the couple, and if no spouse survived, then in equal

       shares between Plaintiff and Bittner, or their living issue per stirpes.

¶ 68         The evidence in the record and over twelve days of testimony asserts factual

       issues concerning Settlor’s physical and mental weakness around the time of the

       execution of the 9 August 2017 estate plan; the caregivers’ status as propounders;

       and, the refusal of the caregivers to allow Plaintiff and Settlor’s other family members

       to visit and see Settlor without supervision. No evidence tends to show Plaintiff ever

       communicated any threats or intent to harm Settlor. Plaintiff acted in conjunction

       with her sister, first cousin, and other family members to alert Settlor to non-family

       members and employees potentially taking advantage of Settlor and his assets.

¶ 69         Medical personnel and employees of financial institutions observed Settlor’s

       unusual behaviors and actions and, on their own initiative, alerted family members

       and law enforcement to questionable activities and expenses by non-family caregivers

       and employees who were related to each other, who had accompanied Settlor,

       managed his daily schedule, and overtly influenced his activities. These questionable
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       actions and activities by caregivers were shared with Settlor’s fiduciaries, who

       assisted and facilitated these activities, in derogations of the warnings and concerns

       of medical personnel, bank employees, Settlor’s children, a son-in-law, and Settlor’s

       nephew.

¶ 70          After surviving summary judgment and during twelve days of testimony

       Plaintiff presented more than a “scintilla of evidence” to preclude the trial court

       entering a directed verdict for Defendants. Hayes, 246 N.C. App. at 443, 784 S.E.2d

       at 613. The trial court erred in granting Defendants’ motion for a directed verdict.

       The trial court’s 14 December 2020 order entering a directed verdict is reversed.

                            VI.    Exclusion of Godwin’s Testimony

¶ 71          Plaintiff asserts the trial court erred in excluding Godwin’s testimony,

       specifically his statement Settlor stated he wanted his “[real] property to go to

       [Plaintiff].”

¶ 72          Almost a century ago, our Supreme Court held:

                              It has been generally held that declarations, oral or
                       written, by the deceased may be shown in evidence upon
                       the trial of an issue involving his mental capacity, whether
                       such declarations were made before, at or after the date on
                       which it is contended that the deceased was of unsound
                       mind.

          In re Will of Brown, 194 N.C. 583, 595, 140 S.E.2d 192, 199 (1927) (citation

          omitted).
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¶ 73         “Declarations made by the testator, in order to be admissible, must be made at

       a time not too remote from the making of the will.” In re Will of Hall, 252 N.C. 70,

       81, 113 S.E.2d 1, 9 (1960). Settlor’s nephew, Godwin, who was never a beneficiary

       under any iteration of Settlor’s wills or trusts, heard Settlor’s purported statement

       five months after the testamentary documents at issue were executed. The trial court

       erred in excluding Godwin’s testimony. The trial court’s order excluding Godwin’s

       testimony is reversed.

                                  VII.    Substantial Merit

¶ 74         The trial court held Plaintiff’s claims lacked substantial merit. In light of this

       Court’s holdings to reverse and remand for further proceedings, the trial court’s

       holding of no substantial merit is vacated.

                                     VIII.     Conclusion

¶ 75         The trial court erred by: granting Defendants’ motion for summary judgment

       on the issue of capacity; granting Defendants’ motion for a directed verdict on the

       issue of undue influence; granting Defendants’ motion to exclude Godwin’s testimony;

       and, in holding Plaintiff’s claims lacked substantial merit.

¶ 76         We reverse the trial court’s orders granting summary judgment, granting a

       directed verdict, and excluding Godwin’s testimony, and remand. We vacate the trial

       court’s order holding Plaintiff’s claims lacked substantial merit. It is so ordered.

             REVERSED IN PART; VACATED IN PART; AND REMANDED.
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Judges CARPENTER and JACKSON concur.
